                Case 4:04-cr-40014-JPG                     Document 154 Filed 07/22/05                    Page 1 of 6           Page ID
                (Rev. 12/03) Judgment in a Criminal Case
                                                                     #363
%A0 2458
                Sheet 1




                                                SOUTHERN          District of       ILLINOIS
UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE
v.
JABRAE D. THOMAS
                                                                          Case Number:                          4:04CR40014-001-JPG

                                                                          USM Number:                           06271-025

                                                                          Evelyn Lewis
                                                                          Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s) 1 of the Indictment.
-
0 pleaded nolo contendere to count(s)
-
     which was accepted by the court.
0 was found guilty on count(s)
-
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                            Offense Ended           Count
21 U.S.C. 846                      Conspiracy to Distribute 50 Grams or More of a Mixture and                   02/24/2004       1
                                   Substance Containing Cocaine Base




       The defendant is sentenced as provided in pages 2 through
the Sentencing Reform Act of 1984.
                                                                              b          of this judgment. The sentence is imposed pursuant to

0 The defendant has been found not guilty on count(s)
-
0 Count(s)
-                                                 0 is
                                                  -               g are dismissed on the motion of the United States.
         I t IS ordered that the defendant must notify the ilnited St3tt.a attorncy ior th~sdistr~ctwithin 3U da a of any change of name, residen
or m a h g address unt~!all fines, rcstmxlon,,costs, and spcc~ala~s<sanlents    imposed by th~s judgment arc
the defendant must notlfv the soun and L'n~tcdStates attorney of nuter~alchanges in ccononnc rlrcurnstances.
                                                                                                                 Idy
                                                                                                                   patd. If ordered to pay restltutlo


                                                                          July 13.2005
                                                                          Date of lmosition ofJudement



                                                                          ~ignatu@f Judge




                                                                          1. Phil Gilbert, District J u d ~ e
                Case 4:04-cr-40014-JPG                    Document 154 Filed 07/22/05                 Page 2 of 6       Page ID
                                                                    #364
A 0 245B     (Rev. 12103) Judgment in Criminal Case
             Sheet 2 Imprisonment

                                                                                                      Judgment - Page   L
DEFENDANT:                      JABRAE D. THOMAS
CASE NUMBER:                    4:04CR40014-001-JPG


                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:               240 months on Count 1




    13 The court makes the following recommendations to the Bureau of Prisons:
    -




    X The defendant is remanded to the custody of the United States Marshal
    -

    0 The defendant shall surrender to the United States Marshal for this district:
    -

        -
        13     at                                     13 a.m.
                                                      -           1 p.m.       on
        13
        -      as notified by the United States Marshal.

    13 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
    -
        -
        13     before 2 p.m on

        -
        13     as notified by the United States Marshal.

        -      as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                              to

a                                                       , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                             BY
                                                                                    DEPUTY UNITED STATES MARSHAL
                 Case 4:04-cr-40014-JPG                  Document 154 Filed 07/22/05                      Page 3 of 6          Page ID
                                                                   #365
A 0 2458      (Rev 12103) Judgment in a Cnminal Case
              Sheet 3 S u p e r v i s e d Release
                                                                                                           Judgment-Page   __L
DEFENDANT:                    JABRAE D. THOMAS
CASE W E E R :                4:04CR40014-001-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :            10 years on Count 1




      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release kom th
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 'l'hc defendant shall not unlawfully p o s s s a cuntrollc~lwhstancc. The deti.ndant shall refram from any unlawful use ofa connollcd
 substtan:e. The defcnrlant shall subnut tu une drug tcd wttht11I5 days o f r c l c ~ wfrom impr~sonnicntanJ at least two permd~cdrug testa
 thercaftcr, as dctcrm~nedby thc court.
 -      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        futnre substance abuse. (Check, if applicable.)
 -      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
 8
 -      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

 -
 0      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
 0
 -      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by tlns court as well as with any additional condition
 on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days
           each month;
   3)      the defendant shall answer truthhlly all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of
           felony, unless granted permission to do so by the pro%ationofficer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of an
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement office
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the court; and
  13)      as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's crimin
           record or ,persona? history or characteristics and shall permit the probation officer to make such notifications and to confim th
           defendant s compliance with such notification reqnuement.
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A 0 2458   (Rev. 12103) Judgment in a Criminal Case
           Sheet 3C - Supwised Release
                                                                                            Judgmmt-Page   4
DEFENDANT:                JABRAE D. THOMAS
CASE NUMBER:              4:04CR40014-001-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
                                  r
      The defendant shall pa any financial penalty that is imposed b this jud ent and that remains unpaid at the
                                                                       7
commencement of the term o supervised release. The defendant shal pay the g e in installments of $10.00 per month or te
percent of his net monthly income, whichever is greater.
  The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
with access to any requested financial information. The defendant is advised that the probation office may share financial
information with the Financial Litigation Unit.
  The defendant shall appl all monies received from income tax refunds, lottery winnings, judgments, and/or any other
anticipated or unexpected Znancial         $inr
                                          to the outstanding court-ordered financial obligation. The defendant shall
immediately notify the probation of lcer of the receipt of any indicated monies.
  The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
conducted bv the United States Probation Officers at a reasonable time and in a reasonable manner. based uoon reasonable
zusplclon ofcontraband or evldence ot'3 vlolatinn nfa cond~tiono~'zupcrv~s~on.    Fa~lurc.to submn l o a search may bc.
wounds for revocation. Thu defendant sh;lll ~nformany other rcs~dentsthat the oremlses mav be sub~ectto a search oursuan
io this condition.
  The defendant shall articipate as directed and approved by the probation officer in treatment for narcotic addiction, drug
                         P
dependence, or alcoho dependence, which includes urinalysis or other drug detection measures and which may require
residence andlor partici ation in a residential treatment facility. Any participation will require complete abstinence from all
                          K
alcoholic beverages. T e defendant shall pay for the costs associated with substance abuse counselmg andlor testing based
on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total costs of
counselmg.
              Case 4:04-cr-40014-JPG                        Document 154 Filed 07/22/05                        Page 5 of 6     Page ID
                                                                      #367
A 0 2458   (Rev. 12/03) Judgment in a Criminal Case
           Sheet 5 C r i m i n a l Monetary Penalties
                                                                                                           Judgment - Page 5
 DEFENDANT:                         JABRAE D. THOMAS
 CASE W E R :                       4:04CR40014-001-JPG
                                                 CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                       Assessment                                              -
                                                                               Fine                              Restitution
 TOTALS            $    100.00                                             $ 200.00                            $ -0-



 - The determination of restitution is deferred until -An Amended Judgment in a Criminal Case ( A 0 245C) will he enter
     after such determination.

 - The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified othenvise
     the priority order or percentage payment columnielow. However, pursuant to 18 J s . & 5 366481, all nonfederal victims must be p
     before the United States is pald.

 Name of Pavee                                 Total Loss*                            Restitution Ordered               Priority or Percentage




 TOTALS                               $                                           $


-     Restitution amount ordered pursuant to plea agreement $

-     The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

X
-     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           the interest requirement is waived for the              x    fine    g restitution.
      - the interest requirement for the                -   fine       - restitution is modified as follows:

 *Findings for the total amount of losses are required under Chapters 109A, 110,l IOA, and 113A of Title 18 for offenses cnrmnitted on or aft
 September 13, 1994, hut before Apnl23, 1996.
               Case 4:04-cr-40014-JPG                   Document 154 Filed 07/22/05                    Page 6 of 6         Page ID
                                                                  #368
A 0 245B   (Rev. 12/03) Judgment in a Cnrninal Case
           Sheet 6 S c h e d u l e of Payments
                                                                                                        Judgment - Page 6
DEFENDANT:                  JABRAE D. THOMAS
CASE NUMBER:                4:04CR40014-001-JPG

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     x o Lump sum payment of $                               due immediately, balance due

           0
           -     not later than                                    , or
           -     in accordance           o C,         1 D,    o     E, or     1 F below; or
 B    o    Payment to begin immediately (may be combined with               g C,     - D, or     E F below); or
 C    o    Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    o    Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    g    Payments are due immediately, through the Clerk of the Court, but may be paid from prison earnings in compliance with the
           Inmate Financial Responsibility Program. Any Financial penalties that remain unpaid at the commencement of the term of
           s u p e ~ s e drelease shall be paid at the rate of $         per month,       % of defendants monthly gross earnings,
           whichever is greater.

 F    gl   Special instructions regarding the payment of criminal monetary penalties:
           While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent of his net
           monthly income, whichever is greater.




 Unless the court has express1 ordered athenvise, if this jud ment imposes imprisonment, pa ent of criminal monetary penalties is due durin
 Responsibility Program are made t o x e clerk of the court.
                                                              51
 imprisonment. All cnminaYmoneta penalties, except t ose payments made through g ~ e d e r a Bureau   l      of Prisons' Inmate Financi


 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed



 o
 -    Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 0
 -    The defendant shall pay the cost of prosecution.
 0
 -    The defendant shall pay the following court cost(s):
 -
 0    The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                         1.
 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) fine interest, (6) community restitution, (7) pena tles, and (8) costs, including cost of prosecution and court costs.
